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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                    Case No. 17-20298
                                                    Hon. Matthew F. Leitman
vs

JAMES M. ELBERT III,

     Defendant.
__________________________________________________________________

             ORDER GRANTING EX PARTE MOTION FOR
             APPOINTMENT OF AN EXPERT REGARDING
            MENTAL HEALTH EVALUATION OF DEFENDANT

      Upon the Petition of Jerome Sabbota, counsel for Defendant, James M. Elbert,

III, that he requires the services of a mental health expert to assist him in his

representation of Mr. Elbert, and that this Court has appointed Dr. Dennis P. Sugrue,

Ph.D. of Bloomfield, Michigan, to perform the mental health evaluation;

      IT IS ORDERED that Dennis P. Sugrue, Ph.D. must be allowed to:

      1.     Conduct a professional conduct visit with James M. Elbert, III at the

Clare County Jail, in Harrison, Michigan, or other place where Mr. Elbert is

incarcerated by the United States Marshal, during normal visiting hours, until further

order of this Court. Dr. Sugrue must be permitted to meet, interview, test and

evaluation James M. Elbert, III;
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      2.     Bring the necessary items for intelligence/brain function testing,

including a laptop computer, iPad, tape recorder, blocks, picture cards and books into

the Clare County Jail or other designated facility for the purpose of psychological

testing of the Defendant, James Elbert, III; and

      3.     Dennis P. Sugrue, Ph.D. shall be allowed to examine James Elbert, III in

private, confidential area, and that he be permitted to meet with for the necessary time

to conduct a psychological evaluation.

      IT IS SO ORDERED.

                                         /s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE

Dated: November 8, 2017


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on November 8, 2017, by electronic means and/or ordinary
mail.

                                         s/Holly A. Monda
                                         Case Manager
                                         (810) 341-9764
